        Case 3:24-cv-00347-AN        Document 259    Filed 08/14/24   Page 1 of 9




DAVID H. ANGELI, OSB No. 020244
david@angelilaw.com
PETER D. HAWKES, OSB No. 071986
peter@angelilaw.com
ANGELI LAW GROUP LLC
121 SW Morrison Street, Suite 400
Portland, OR 97204
Telephone: (503) 954-2232
Facsimile: (503) 227-0880

Attorneys for Defendant Albertsons Companies, Inc.

(Additional counsel on signature page)




                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION
FEDERAL TRADE COMMISSION,                       Case No.: 3:24-cv-00347
STATE OF ARIZONA,
STATE OF CALIFORNIA,                            DEFENDANTS’ MOTION TO
DISTRICT OF COLUMBIA,                           EXCLUDE THE TESTIMONY OF
STATE OF ILLINOIS,                              DR. EDWARD FOX
STATE OF MARYLAND,
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,
              Plaintiffs,

       v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                  Defendants.
         Case 3:24-cv-00347-AN         Document 259        Filed 08/14/24     Page 2 of 9




                       CERTIFICATION PURSUANT TO LR 7-1(a)(1)

       Defendants have conferred with Plaintiffs regarding this motion, and Plaintiffs oppose the

relief sought herein. Pursuant to the Case Management and Scheduling Order, Plaintiffs’ response

to this motion is due on August 21, 2024.

                                            MOTION

       Defendants The Kroger Company (“Kroger”) and Albertsons Companies, Inc. (“ACI”)

(together, “Defendants”) hereby move this Court to exclude equivocal expert testimony and

opinions of Plaintiffs’ designated marketing and retailing expert, Dr. Edward Fox, who proposes

to testify about the divestiture buyer, C&S, and its ability to compete effectively in the retail

grocery industry. Dr. Fox expresses no opinion as to whether C&S will in fact be able to

effectively compete in the retail grocery industry after the merger, or whether C&S’s expanded

retail operations will fail. Instead, he intends to testify only that C&S may face certain challenges

operating divested stores. Expert testimony that merely speculates on what is possible in a merger

transaction is not helpful to the trier of fact. Dr. Fox’s opinions about what may happen to C&S

after the merger are therefore inadmissible under Federal Rule of Evidence 702 and Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and should be excluded.

                                  MEMORANDUM OF LAW

I.     BACKGROUND

       Plaintiffs hired Dr. Fox, a marketing and retailing professor, to “

                                  ” to “                                                     ” after

acquiring 579 divested stores in connection with the proposed Kroger-Albertsons merger. Fox

Expert Report ¶ 24 (Ex. 2)1. Across his 182-page expert report and 69-page rebuttal report,


1
 Citations to “Ex.” are to the numbered exhibits attached to the Declaration of A. Joshua Podoll,
which is being filed simultaneously herewith.
                                                 1
         Case 3:24-cv-00347-AN          Document 259       Filed 08/14/24      Page 3 of 9




however, Dr. Fox never clearly opines on whether C&S will be able to effectively compete in the

retail grocery industry after the merger. Instead, Dr. Fox simply identifies a variety of challenges

C&S may face, including re-bannering costs, building brand equity, operating pharmacies and fuel

centers, and integrating IT infrastructure. Fox Expert Report ¶ 26 (Ex. 2). For example, Dr. Fox

opines that C&S “                                                         ” divested stores, and that

operating brands with low brand awareness “

           .” Fox Expert Report ¶ 38 (Ex. 2) (emphasis added).

       But Dr. Fox pointedly declines to opine on C&S’s actual ability to successfully operate the

divested stores. At his deposition, he confirmed that he was not testifying that C&S “

                 ,” or that the package of stores and assets C&S will acquire in the divestiture is

“                                                                                            .” Fox

Dep. at 50:10–17; 52:3–10 (Ex. 1). And on the issue of whether C&S will “

                                           ” Dr. Fox admitted that he “

                      .” Dep. at 52:11–23 (Ex. 1). He also admitted that he was “

           ” that the potential challenges he identified “

           ” at the divested stores or that “         .” Fox Dep. at 54:24–55:1 (Ex. 1).

       At most, Dr. Fox opines that “

                                           ” then “

                                 .” Fox Rebuttal Report ¶ 13(a) (Ex. 3) (emphasis added).

II.    LEGAL STANDARD

       Federal Rule of Evidence 702 allows admission of “scientific, technical, or other

specialized knowledge” by a qualified expert only if, among other things, the testimony will assist

“the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a).

In interpreting Rule 702, the Supreme Court charged district courts to act as “gatekeep[ers],”
                                                  2
         Case 3:24-cv-00347-AN          Document 259         Filed 08/14/24      Page 4 of 9




applying a two-part test to ensure that all expert testimony is (1) reliable and (2) relevant. In other

words, the proposed expert opinions must “fit” the facts of the case at hand. See Daubert, 509

U.S. at 591, 597–98. Trial courts have broad discretion to exclude expert testimony that does not

meet these standards. Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 151–52 (1999).

       “[A]n expert, no matter how good his credentials, is not permitted to speculate.” Goebel v.

Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1088 (10th Cir. 2000). Unsupported

speculation does not assist the trier of fact in determining a fact in issue, nor is it reliable. Pierce

v. Atrium TRS V, LLC, 2018 WL 2977383, at *2 (D. Or. June 13, 2018). An expert witness

impermissibly speculates when he or she can only theorize about hypothetical possibilities, but

cannot offer concrete opinions about facts at issue in a case. See Barefoot v. Weyerhauser NR Co.,

729 F. App’x 300, 303 (5th Cir. 2018) (per curiam) (rejecting opinion where witness “refused” to

opine if key event at issue actually happened, because “equivocation does not assist the trier of

fact” to “determine a fact in issue”) (internal quotation marks omitted).

       Consistent with those principles, courts routinely exclude the testimony of experts who

“leave a trail of equivocation” by making a series of conditional, vague statements and failing to

offer a clear opinion about a relevant issue at trial. McClain v. Metabolife Int’l, Inc., 401 F.3d

1233, 1240–41 (11th Cir. 2005); see also, e.g., Mink Mart, Inc. v. Reliance Ins. Co., 65 F. Supp.

2d 176, 181 (S.D.N.Y. 1999), aff’d, 12 F. App’x 23 (2d Cir. 2000) (excluding testimony of expert

whose “speculation [was] itself premised on speculation”). Exclusion is particularly appropriate

when the expert admits that he or she is unable to offer concrete opinions on issues relevant to the

case and their claimed area of expertise. Baker v. SeaWorld Ent., Inc., 423 F. Supp. 3d 878, 915

(S.D. Cal. 2019) (excluding as irrelevant an expert’s opinion where he “concede[d] that he is not

offering an affirmative opinion” on an issue relevant to plaintiffs’ claims).



                                                   3
         Case 3:24-cv-00347-AN           Document 259      Filed 08/14/24      Page 5 of 9




III.    ARGUMENT

        For multiple reasons, this Court should exclude Dr. Fox’s testimony concerning C&S’s

ability to compete in the retail grocery industry following the divestiture acquisition.

        First, Dr. Fox fails to offer any concrete opinion on a central issue within his purported

expertise: whether C&S will successfully compete with Kroger after the merger. Plaintiffs’

Complaint alleges that the proposed divestiture to C&S “will fail to mitigate the substantial harm

to consumers and workers from lost competition between Kroger and Albertsons,” because it “does

not contain sufficient assets to enable C&S…to maintain or replicate the competitive intensity that

currently exists between Kroger’s and Albertsons’s supermarkets.” Compl. ¶¶ 11, 106. This

allegation underlies Plaintiffs’ critique of Kroger and Albertsons’ proposed divestiture package.

But on this issue, Dr. Fox admits he “                                 .” Dep. at 52:11–23 (Ex. 1).

By not offering a concrete opinion on C&S’s success as a divestiture buyer, Dr. Fox fails to “assist

the trier of fact to…determine a fact in issue.” Barefoot, 729 F. App'x at 303 (internal quotation

marks omitted).

        Second, Dr. Fox fails even to offer a concrete opinion on certain challenges C&S could

face after the Kroger-Albertsons merger, including to what extent these challenges will actually

materialize or have any negative effect on C&S’s competitive performance. Instead, he relies on

“a trail of equivocation” when assessing the impact of potential challenges on C&S’s success.

McClain, 401 F.3d at 1240–41. For example, Dr. Fox notes that certain challenges that may arise

out of the divestiture “                                              ,” which “

                                                                                .” Fox Report ¶ 223

(Ex. 2) (emphasis added). He speculates that the support C&S will receive under the Transition

Services Agreement “                                    ” and ultimately “

          .” Fox Report ¶¶ 68–69 (Ex. 2) (emphasis added). But Dr. Fox is unable to opine that
                                                  4
        Case 3:24-cv-00347-AN         Document 259       Filed 08/14/24     Page 6 of 9




certain alleged “deficits” in C&S’s capabilities will actually affect C&S’s success in competing

after the merger. At most, he can testify that if these deficits “

                                                                                              Fox

Rebuttal Report ¶ 13(a) (Ex. 3) (emphasis added). This “speculation…premised on speculation”

is not helpful to the trier of fact and should be excluded under Rule 702. Mink Mart, Inc., 65 F.

Supp. at 181.

IV.    CONCLUSION

       For the reasons discussed above, Defendants respectfully request that the Court exclude

the expert testimony of Dr. Fox related to C&S’s ability to compete in the retail grocery industry

after the Kroger-Albertsons merger, to the extent such opinions are based on equivocation.




                                                5
       Case 3:24-cv-00347-AN     Document 259   Filed 08/14/24   Page 7 of 9




DATED: August 14, 2024

ANGELI LAW GROUP LLC                    STOEL RIVES LLP

/s/ David H. Angeli                     /s/ B. John Casey
DAVID H. ANGELI, Bar No. 020244         B. JOHN CASEY, OSB No. 120025
david@angelilaw.com                     john.casey@stoel.com
PETER D. HAWKES, Bar No. 071986          RACHEL C. LEE, OSB No. 102944
peter@angelilaw.com                      rachel.lee@stoel.com
121 SW Morrison Street, Suite 400        JACOB GOLDBERG, OSB No. 162565
Portland, OR 97204                       jacob.goldberg@stoel.com
Telephone: 503.954.2232
                                        AND
AND
                                        ARNOLD & PORTER KAYE SCHOLER LLP
DEBEVOISE & PLIMPTON LLP
                                        MATTHEW M. WOLF (Pro Hac Vice)
EDWARD D. HASSI (Pro Hac Vice)          matthew.wolf@arnoldporter.com
thassi@debevoise.com                    SONIA K. PFAFFENROTH (Pro Hac Vice)
801 Pennsylvania Avenue NW              sonia.pfaffenroth@arnoldporter.com
Washington, DC 20004                    JOSHUA M. DAVIS (Pro Hac Vice)
Telephone: 202.942.5000                 joshua.davis@arnoldporter.com
                                        KOLYA D. GLICK (Pro Hac Vice)
MICHAEL SCHAPER (Pro Hac Vice)          kolya.glick@arnoldporter.com
mschaper@debevoise.com                  JASON C. EWART (Pro Hac Vice)
SHANNON ROSE SELDEN (Pro Hac Vice)      jason.ewart@arnoldporter.com
srselden@debevoise.com                  MICHAEL E. KIENTZLE (Pro Hac Vice)
J. ROBERT ABRAHAM (Pro Hac Vice)        michael.kientzle@arnoldporter.com
jrabraham@debevoise.com                 MATTHEW M. SHULTZ (Pro Hac Vice)
NATASCHA BORN (Pro Hac Vice)            matthew.shultz@arnoldporter.com
nborn@debevoise.com                     DAVID B. BERGMAN (Pro Hac Vice)
66 Hudson Boulevard                     david.bergman@arnoldporter.com
New York, NY 10001                      MICHAEL L. WALDEN (Pro Hac Vice)
Telephone: 212.909.6000                 mike.walden@arnoldporter.com
                                        YASMINE L. HARIK (Pro Hac Vice)
AND                                     yasmine.harik@arnoldporter.com
                                        ALLISON GARDNER (Pro Hac Vice)
WILLIAMS & CONNOLLY LLP                 allison.gardner@arnoldporter.com
                                        BARBARA H. WOOTTON (Pro Hac Vice)
ENU A. MAINIGI (Pro Hac Vice)           barbara.wootton@arnoldporter.com
emainigi@wc.com                         CHRISTIAN SCHULTZ (Pro Hac Vice)
JONATHAN B. PITT (Pro Hac Vice)         christian.schultz@arnoldporter.com
jpitt@wc.com                            DAVID EMANUELSON (Pro Hac Vice)
A. JOSHUA PODOLL (Pro Hac Vice)         david.emanuelson@arnoldporter.com
apodoll@wc.com                          MEI-WAH LEE (Pro Hac Vice)
THOMAS W. RYAN (Pro Hac Vice)           mei-wah.lee@arnoldporter.com

                                        6
        Case 3:24-cv-00347-AN        Document 259   Filed 08/14/24   Page 8 of 9




tryan@wc.com                                WILSON DELOSS MUDGE (Pro Hac Vice)
TYLER INFINGER(Pro Hac Vice)                wilson.mudge@arnoldporter.com
tinfinger@wc.com                            601 Massachusetts Avenue, NW
WILLIAM ASHWORTH (Pro Hac Vice)             Washington, DC 20001
washworth@wc.com                            Telephone: 202.942.5000
680 Maine Avenue SW
Washington, DC 20024                        JOHN A. HOLLER (Pro Hac Vice)
Telephone: 202.434.5000                     john.holler@arnoldporter.com
                                            250 W 55th Street
AND                                         New York, NY 10019
                                            Telephone: 212.836.8000
DECHERT LLP
                                            BRIAN K. CONDON (Pro Hac Vice)
JAMES A. FISHKIN (Pro Hac Vice)             brian.condon@arnoldporter.com
james.fishkin@dechert.com                   777 S. Figueroa Street, 44th Floor
MICHAEL COWIE (Pro Hac Vice)                Los Angeles, CA 90017
mike.cowie@dechert.com                      Telephone: 213.243.4000
ELENA KAMENIR (Pro Hac Vice)
elena.kamenir@dechert.com                   JEREMY T. KAMRAS (Pro Hac Vice)
1900 K Street NW                            jeremy.kamras@arnoldporter.com
Washington, DC 20006                        Three Embarcadero Center, 10th Floor
Telephone: 202.261.3300                     San Francisco, CA 94111
                                            Telephone: 415.471.3100
HOWARD. M. ULLMAN (Pro Hac Vice)
howard.ullman@dechert.com                   AND
45 Fremont St, 26th Floor
San Francisco, CA 94105                     WEIL, GOTSHAL & MANGES LLP
Telephone: 415.262.4500
                                            MARK A. PERRY (Pro Hac Vice)
ROSS UFBERG (Pro Hac Vice)                  mark.perry@weil.com
ross.ufberg@dechert.com                     LUKE SULLIVAN (Pro Hac Vice)
YOSEF WEITZMAN (Pro Hac Vice)               luke.sullivan@weil.com
yosi.weitzman@dechert.com                   JASON N. KLEINWAKS (Pro Hac Vice)
Cira Centre                                 jason.kleinwaks@weil.com
2929 Arch Street                            2001 M Street, NW, Suite 600
Philadelphia, PA 19104                      Washington, DC 20036
Telephone: 215.994.2422                     Telephone: 202.682.7000

Attorneys for Defendant Albertsons          LUNA N. BARRINGTON (Pro Hac Vice)
Companies, Inc.                             luna.barrington@weil.com
                                            767 Fifth Avenue
                                            New York, NY 10153
                                            Telephone: 212.310.8000

                                            SARAH M. STERNLIEB (Pro Hac Vice)
                                            sarah.sternlieb@weil.com

                                            7
Case 3:24-cv-00347-AN   Document 259   Filed 08/14/24    Page 9 of 9




                               700 Louisiana Street, Suite 3700
                               Houston, TX 77002
                               Telephone: 713.546.5000

                               BAMBO OBARO (Pro Hac Vice)
                               bambo.obaro@weil.com
                               201 Redwood Shores Parkway
                               Redwood Shores, CA 94065
                               Telephone: 650.802.3000

                               THOMAS B. FIASCONE (Pro Hac Vice)
                               tom.fiascone@weil.com
                               REBECCA SIVITZ (Pro Hac Vice)
                               rebecca.sivitz@weil.com
                               100 Federal Street, Floor 34
                               Boston, MA 02110
                               Telephone: 617.722.8314

                               Attorneys for Defendant The Kroger Company




                               8
